                                                                                    Case 4:09-cv-05461-PJH Document 41 Filed 03/23/11 Page 1 of 4



                                                                         1
                                                                         2
                                                                         3                                    UNITED STATES DISTRICT COURT
                                                                         4                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         5                                           OAKLAND DIVISION
                                                                         6
                                                                         7    SHANE PERRY,
                                                                         8                            Plaintiff,                       No. C 09-05461 PJH (PR)
                                                                         9         vs.                                                 ORDER GRANTING MOTION
                                                                                                                                       TO EXTEND TIME TO AMEND,
                                                                         10   SAN FRANCISCO COUNTY JAIL, et                            DISMISSING AMENDED
                                                                              al.,                                                     COMPLAINT WITH LEAVE TO
United States District Court




                                                                         11                                                            AMEND, AND DENYING
                                                                                                      Defendants.                      MOTION FOR APPOINTMENT
                               For the Northern District of California




                                                                         12                                             /              OF COUNSEL
                                                                         13              Plaintiff, who is now at Avenal State Prison, wrote to the court describing problems
                                                                         14   at the San Francisco County Jail, where he formerly was housed. In an effort to protect
                                                                         15   plaintiff’s rights, the letter was treated as an attempt to open a new case. The court
                                                                         16   reviewed the letter, concluded that it did not state a claim, and dismissed with leave to
                                                                         17   amend. Plaintiff has amended. The amended complaint now will be reviewed under 28
                                                                         18   U.S.C. § 1915A(a) to determine if it should be served.
                                                                         19                                                 DISCUSSION
                                                                         20   A.         Standard of Review
                                                                         21              Federal courts must engage in a preliminary screening of cases in which prisoners
                                                                         22   seek redress from a governmental entity or officer or employee of a governmental entity. .
                                                                         23   In its review the court must identify any cognizable claims, and dismiss any claims which
                                                                         24   are frivolous, malicious, fail to state a claim upon which relief may be granted, or seek
                                                                         25   monetary relief from a defendant who is immune from such relief. Id. at 1915A(b)(1),(2).
                                                                         26   Pro se pleadings must be liberally construed. Balistreri v. Pacifica Police Dep't, 901 F.2d
                                                                         27   696, 699 (9th Cir. 1990).
                                                                         28              Federal Rule of Civil Procedure 8(a)(2) requires only "a short and plain statement of
                                                                                   Case 4:09-cv-05461-PJH Document 41 Filed 03/23/11 Page 2 of 4



                                                                         1    the claim showing that the pleader is entitled to relief." "Specific facts are not necessary;
                                                                         2    the statement need only '"give the defendant fair notice of what the . . . . claim is and the
                                                                         3    grounds upon which it rests."'" Erickson v. Pardus, 127 S. Ct. 2197, 2200 (2007) (per
                                                                         4    curiam) (citations omitted). Although in order to state a claim a complaint “does not need
                                                                         5    detailed factual allegations, . . . a plaintiff's obligation to provide the 'grounds of his
                                                                         6    'entitle[ment] to relief' requires more than labels and conclusions, and a formulaic recitation
                                                                         7    of the elements of a cause of action will not do. . . . Factual allegations must be enough to
                                                                         8    raise a right to relief above the speculative level." Bell Atlantic Corp. v. Twombly, 127 S.
                                                                         9    Ct. 1955, 1964-65 (2007) (citations omitted). A complaint must proffer "enough facts to
                                                                         10   state a claim for relief that is plausible on its face." Id. at 1974. The United States
United States District Court




                                                                         11   Supreme Court has recently explained the “plausible on its face” standard of Twombly:
                               For the Northern District of California




                                                                         12   “[w]hile legal conclusions can provide the framework of a complaint, they must be
                                                                         13   supported by factual allegations. When there are well-pleaded factual allegations, a court
                                                                         14   should assume their veracity and then determine whether they plausibly give rise to an
                                                                         15   entitlement to relief.” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1950 (2009). However, complaints
                                                                         16   in pro se prisoner cases, such as this one, must be liberally construed in favor of the
                                                                         17   plaintiff when applying the Twombly/Iqbal pleading standard. Hebbe v. Miller, 602 F.3d
                                                                         18   12020, 1205 (9th Cir. 2010).
                                                                         19          To state a claim under 42 U.S.C. § 1983, a plaintiff must allege two essential
                                                                         20   elements: (1) that a right secured by the Constitution or laws of the United States was
                                                                         21   violated, and (2) that the alleged deprivation was committed by a person acting under the
                                                                         22   color of state law. West v. Atkins, 487 U.S. 42, 48 (1988).
                                                                         23   B.     Analysis
                                                                         24          In the order dismissing the complaint/letter with leave to amend, the court said:
                                                                         25                 Plaintiff’s letter describes some potentially serious claims, such as use
                                                                                     of excessive force, but does not say who is intended to be the defendants or
                                                                         26          exactly what claims plaintiff wishes to pursue. He also has written several
                                                                                     additional letters to the court; it is not possible to ascertain whether he intends
                                                                         27          these to assert additional claims. The letter, treated as the complaint, will be
                                                                                     dismissed with leave to amend on the court’s form for prisoner Section 1983
                                                                         28          claims.

                                                                                                                                2
                                                                                   Case 4:09-cv-05461-PJH Document 41 Filed 03/23/11 Page 3 of 4



                                                                         1
                                                                                     The amended complaint is 59 pages long and is supported by 170 pages of exhibits.
                                                                         2
                                                                              It includes claims against seventeen named defendants and many John Does. Despite the
                                                                         3
                                                                              court’s statement in the initial review order that the amendment should be on the court’s
                                                                         4
                                                                              form for section 1983 complaints, it is not on the form. This is not necessarily fatal, as long
                                                                         5
                                                                              as everything that the form calls for is included in the complaint, as appears to be the case,
                                                                         6
                                                                              but the complaint suffers other deficiencies.
                                                                         7
                                                                                     The complaint contains approximately thirty pages of very detailed factual
                                                                         8
                                                                              allegations, followed by eight pages headed “Counts.” In the latter section, plaintiff
                                                                         9
                                                                              presents claims against specific defendants, but does not say where the facts can be found
                                                                         10
                                                                              that support each claim. For instance, he writes that “[d]efendant, Senior deputy,
United States District Court




                                                                         11
                                                                                McCain racially discriminated against the plaintiff, violating the plaintiff’s rights under the
                               For the Northern District of California




                                                                         12
                                                                              Equal Protection Clause of the 14th Constitutional Amendment of the United States of
                                                                         13
                                                                              America,” but it is unclear where in the lengthy fact section of the complaint the court might
                                                                         14
                                                                              find facts to support this clam. And as to this claim and several others, it is not at all clear
                                                                         15
                                                                              that there are any facts alleged in support. The complaint will be dismissed with leave to
                                                                         16
                                                                              amend to specify what facts support each claim.
                                                                         17
                                                                              C.     Motion for Counsel
                                                                         18
                                                                                      Plaintiff has moved for appointment of counsel.
                                                                         19
                                                                                     There is no constitutional right to counsel in a civil case, Lassiter v. Dep't of Social
                                                                         20
                                                                              Services, 452 U.S. 18, 25 (1981), and although district courts may "request" that counsel
                                                                         21
                                                                              represent a litigant who is proceeding in forma pauperis, as plaintiff is here, see 28 U.S.C.
                                                                         22
                                                                              § 1915(e)(1), that does not give the courts the power to make "coercive appointments of
                                                                         23
                                                                              counsel." Mallard v. United States Dist. Court, 490 U.S. 296, 310 (1989).
                                                                         24
                                                                                     The Ninth Circuit has held that a district court may ask counsel to represent an
                                                                         25
                                                                              indigent litigant only in "exceptional circumstances," the determination of which requires an
                                                                         26
                                                                              evaluation of both (1) the likelihood of success on the merits and (2) the ability of the
                                                                         27
                                                                              plaintiff to articulate his claims pro se in light of the complexity of the legal issues involved.
                                                                         28
                                                                              Terrell v. Brewer, 935 F.2d 1015, 1017 (9th Cir. 1991).

                                                                                                                               3
                                                                                  Case 4:09-cv-05461-PJH Document 41 Filed 03/23/11 Page 4 of 4



                                                                         1           Plaintiff appears able to present his claims adequately, and the issues are not
                                                                         2    complex. The motion for appointment of counsel will be denied.
                                                                         3                                             CONCLUSION
                                                                         4           1. Plaintiff’s third motion for an extension of time to amend (document number 29 on
                                                                         5    the docket) is GRANTED. The amendment is deemed timely.
                                                                         6           2. The complaint is DISMISSED with leave to amend within thirty days to specify the
                                                                         7    facts that support each claim. The present complaint contains numbered paragraphs, so if
                                                                         8    plaintiff chooses to amend, he may simply modify the “Counts” section of the Amended
                                                                         9    Complaint to include paragraph numbers indicating where the facts can be found that
                                                                         10   support each allegation as to each defendant. The amended complaint must include the
United States District Court




                                                                         11   caption and civil case number used in this order and the words SECOND AMENDED
                               For the Northern District of California




                                                                         12   COMPLAINT on the first page. Because an amended complaint completely replaces the
                                                                         13   original complaint, plaintiff must include in it all the claims he wishes to present. See Ferdik
                                                                         14   v. Bonzelet, 963 F.2d 1258, 1262 (9th Cir. 1992). He need not resubmit the exhibits
                                                                         15   attached to the amended complaint, however.
                                                                         16          3. Plaintiff’s motion for counsel (document number 36 on the docket) is DENIED.
                                                                         17          4. It is the plaintiff's responsibility to prosecute this case. Plaintiff must keep the
                                                                         18   court informed of any change of address by filing a separate paper with the clerk headed
                                                                         19   “Notice of Change of Address,” and must comply with the court's orders in a timely fashion.
                                                                         20   Failure to do so may result in the dismissal of this action for failure to prosecute pursuant to
                                                                         21   Federal Rule of Civil Procedure 41(b).
                                                                         22          IT IS SO ORDERED.
                                                                         23   Dated: March 23, 2010.
                                                                                                                                   PHYLLIS J. HAMILTON
                                                                         24                                                       United States District Judge
                                                                         25
                                                                         26
                                                                         27
                                                                         28   P:\PRO-SE\PJH\CR.09\PERRY5461.DWLTA2.wpd



                                                                                                                              4
